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 3 (916) 443-7141
 4 Attorney for defendant,
   RACHEL HOLMES
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 6
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8
 9 UNITED STATES OF AMERICA,             )                 No. CRS 09 0026 GEB
                                         )
10               Plaintiff,              )                 STIPULATION AND
                                         )                 [PROPOSED] ORDER
11         v.                            )
                                         )
12                                       )                 Date: July 9, 2010
     RACHEL HOLMES,                      )                 Time: 9:00 a.m.
13                                       )                 Judge: Hon. Garland E.
                 Defendant.              )                 Burrell, Jr.
14   ____________________________________)
15 The parties hereby stipulate to the following:
16      1.     A status conference in this matter is set for May 21, 2010 at 9:00 a.m.
17      2.     Additional time is needed to review discovery materials, to prepare
18             possible pretrial motions, to review evidence in the custody of federal
19             agents, and to meet with the client and government’s counsel. Both
20             parties, therefore, stipulate that the status conference be continued until
21             July 9, 2010.
22      3.     It is further stipulated by the parties that time continue to be excluded to
23             July 9, 2010 for preparation of counsel pursuant to local code T4. 18
24             U.S.C. 3161(h)(7)(B)(iv).
25      DATED: May 19, 2010                         /s/ Tim Warriner, Attorney for
                                                    Defendant RACHEL HOLMES
26
27      DATED: May 19, 2010                         /s/ Daniel McConkie, Jr.
                                                    Assistant U.S. Attorney
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 2                                      ORDER
 3         GOOD CAUSE APPEARING, it is hereby ordered that the status conference
 4     set for May 21, 2010 be continued to July 9, 2010 at 9:00 a.m., and that time
 5     continue to be excluded to July 9, 2010, for preparation of counsel pursuant to
 6     Local Code T4, 18 U.S.C. 3161(h)(7)(B)(iv).
 7
     Dated: May 19, 2010
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 9                                  GARLAND E. BURRELL, JR.
                                    United States District Judge
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